[Cite as Johnson v. State Farm Mut. Auto. Ins., Co., 2024-Ohio-3187.]
                              COURT OF APPEALS OF OHIO

                             EIGHTH APPELLATE DISTRICT
                                COUNTY OF CUYAHOGA

SANATHAN JOHNSON,                                      :

                Plaintiff-Appellant,                   :
                                                                        No. 113009
                v.                                     :

STATE FARM MUTUAL AUTOMOBILE :
INSURANCE COMPANY, ET AL.,
                               :
         Defendants-Appellees.


                               JOURNAL ENTRY AND OPINION

                JUDGMENT: AFFIRMED IN PART; VACATED
                          IN PART; AND REMANDED
                RELEASED AND JOURNALIZED: August 22, 2024


              Civil Appeal from the Cuyahoga County Common Pleas Court
                                 Case No. CV-22-963075


                                            Appearances:

                Ryan, LLP, Daniel J. Ryan, and Thomas P. Ryan,
                for appellant.

                Collins, Roche, Utley &amp; Garner, LLC, and Gregory H.
                Collins, for appellee.


ANITA LASTER MAYS, J.:

        {¶1} Plaintiff-appellant Sanathan Johnson (“Johnson”) appeals the trial

court’s decision granting a Civ.R. 35 motion, the trial court failing to define the
scope of the independent medical examination, and the trial court denying

Johnson’s request to obtain a rebuttal expert. We affirm in part, but vacate the

trial court’s medical examination order for lack of scope and remand to the trial

court for further proceedings consistent with this court’s opinion.

I.    Facts and Procedural History

      {¶2} On March 11, 2020, while driving, Johnson was struck by another

driver who left the scene of the accident. Johnson sought medical treatment at a

local hospital, where x-rays showed a mild disc bulging in the cervical and lumbar

spine. Johnson was referred to an orthopedic surgeon, who ordered an MRI. On

March 25, 2020, the MRI revealed a small, central disc herniation contacting a

nerve root. Johnson was diagnosed with a lumbar herniation with radiculopathy.

The surgeon recommended physical therapy and epidural steroid injections.

      {¶3} As a result of his injuries and the accident, Johnson attempted to make

a claim for the uninsured/underinsured insurance coverage to defendant-appellee

State Farm Mutual Automobile Insurance Company (“State Farm”). However,

according to Johnson, State Farm undervalued his claims without reasonable

justification. As a result, Johnson commenced legal action against State Farm on

May 6, 2022, for uninsured/underinsured coverage and bad faith.

      {¶4} On August 11, 2022, the trial court issued a case schedule with a

discovery cutoff date of January 10, 2023, but agreed to extend the deadline to

April 3, 2023. Johnson provided his expert reports on April 17, 2023, and State
Farm’s expert reports were due by August 1, 2023. The trial court also schedule

trial for November 8, 2023. The parties participated in a settlement conference on

June 8, 2023. When the case did not resolve, State Farm filed a motion on

June 12, 2023, requesting that Johnson undergo an independent medical

examination (“IME”) and a 30-day extension to file an expert report. Johnson

objected to the request as being untimely and because State Farm failed to show

good cause and define the scope of the examination under Civ.R. 35(A).

      {¶5} On July 21, 2023, the trial court granted State Farm’s request, stating:

“Defendant, State Farm Mutual Automobile Insurance Company’s motion for

order requiring Plaintiff to appear for physical examination and extension of time,

filed 06/12/2023 is granted. Plaintiff is to appear for examination as requested on

July 28, 2023.” Journal Entry No. 152994763 (July 21, 2023). Johnson filed this

interlocutory appeal assigning four errors for our review:

      1.    The trial court erred in granting State Farm’s motion to compel
            a medical examination of Johnson that failed to establish good
            cause or the physical condition in controversy required by
            Civ.R. 35(A);

      2.    The trial court erred as a matter of law in granting a Civ.R. 35
            motion filed after the discovery deadline without analyzing
            timeliness or excusable neglect under Civ.R. 6(B);

      3.    The trial court erred as a matter of law when they did not define
            the scope of the independent medical examination in their
            order; and

      4.    The trial court erred by failing to grant Johnson’s request for
            addition time to obtain an expert report after the trial court
             granted State Farm’s motion to compel a medical examination
             and Johnson had submitted his initial expert reports prior to the
             order.




II.   Final, Appealable Order

      {¶6} Although not raised by the parties, we first address whether the trial

court’s order is a final, appealable order. To be appealable, a final order must do

more than recite that there is no just reason for delay. The order must also fall

within the statutory definition of a final order pursuant to R.C. 2505.02. R.C.

2505.02(B)(4) states:

      An order is a final order that may be reviewed, affirmed, modified, or
      reversed, with or without retrial, when it is one of the following: (4) An
      order that grants or denies a provisional remedy and to which both of
      the following apply:

            (a) The order in effect determines the action with respect to the
      provisional remedy and prevents a judgment in the action in favor of
      the appealing party with respect to the provisional remedy.

             (b) The appealing party would not be afforded a meaningful or
      effective remedy by an appeal following final judgment as to all
      proceedings, issues, claims, and parties in the action.

      {¶7} Applying the three-part test found in State v. Muncie, 91 Ohio St.3d 440,

446 (2001), a trial court’s order is a final, appealable order when it (1) grants a

provisional remedy; (2) determines the action and prevents judgment in the

plaintiff’s favor with respect to that provisional remedy; and (3) when the order does

not specify the scope of the exam, it presents the danger of an unjust invasion of
privacy, preventing a meaningful or effective remedy by appeal taken after final

adjudication of all claims. Stratman v. Sutantio, 2006-Ohio-4712, ¶ 9 (10th Dist.).

        {¶8} Thus, in our instant case, the trial court’s order is a final, appealable

order. The order compelling attendance at the IME is a provisional remedy that is

determinative to the issue, preventing a contrary order in appellant’s favor. “Most

important, however, is the observation that an order that fails to address the scope

of an independent physical exam presents the danger of an unjust invasion of

privacy or other protected disclosure that could not be remedied on appeal.” Id. at

¶ 10.

        {¶9} Even so, in Myers v. Toledo, 2006-Ohio-4353, ¶ 1, the Court determined

that “[a]n order granting a physical or medical examination, made in a special

proceeding, is not a final, appealable order.” However, this instant case can be

distinguished from Myers because Myers involved a workers’ compensation case, a

special proceeding, and our case does not involve a special proceeding. The Court

in Myers reviewed whether the order was a final, appealable order under

R.C. 2505.02(B)(2), where the order in our case is reviewed under

R.C. 2505.02(B)(4) because it does not involve a special proceeding.

        {¶10} This instant case, unlike Myers, involves a provisional remedy because

the appellants could be compelled to produce privileged information that the

insurance company is not entitled to. If the order is not a final, appealable order or

we ignore the three-part test, the appellant would not have a meaningful remedy if
forced to disclose privileged information. For these reasons, we have determined

that the trial court’s order is a final, appealable order.




III.   Civ.R. 35(A) Motion

       {¶11} Civ.R. 35 governs orders for the physical or mental examination of

persons and states, in relevant part:

       When the mental or physical condition (including the blood group) of
       a party, or of a person in the custody or under the legal control of a
       party, is in controversy, the court in which the action is pending may
       order the party to submit himself to a physical or mental examination
       or to produce for such examination the person in the party’s custody
       or legal control. The order may be made only on motion for good cause
       shown and upon notice to the person to be examined and to all parties
       and shall specify the time, place, manner, conditions, and scope of the
       examination and the person or persons by whom it is to be made.

Civ.R. 35(A).

       {¶12} In Johnson’s first assignment of error, he argues that the trial court

erred in granting State Farm’s Civ.R. 35(A) motion because it failed to establish

good cause or the physical condition in controversy. Pursuant to Civ.R. 35(A), “a

court may order a party to submit himself or herself to a physical or mental

examination if the physical or mental condition of the party is ‘in controversy,’ a

motion has been filed, and the movant party demonstrates ‘good cause’ for the

motion.” Kinsey v. Erie Ins. Group, 2004-Ohio-579, ¶ 4 (10th Dist.). It has also
been found that ‘“[a] plaintiff . . . who asserts mental or physical injury . . . places

that mental or physical injury clearly in controversy and provides the defendant

with good cause for an examination to determine the existence and extent of such

asserted injury.’”   Stratman v. Sutantio, 2006-Ohio-4712, ¶ 19 (10th Dist.),

quoting Schlagenhauf v. Holder, 379 U.S. 104, 119, 85 S.Ct. 234, 13 L.Ed.2d 152
(1964).   Johnson asserted a physical injury in this case; as such, he placed the

injury in controversy and provided State Farm with good cause for an examination

to determine if the injuries he asserts exist.

      {¶13} Therefore, Johnson’s first assignment of error is overruled.

      {¶14} In Johnson’s second assignment of error, he contends that the trial

court erred as a matter of law by granting State Farm’s motion because it was filed

after the discovery deadline without analyzing timeliness or excusable neglect

under Civ.R. 6(B). Civ.R. 6(B) states:

      When by these rules or by a notice given thereunder or by order of
      court an act is required or allowed to be done at or within a specified
      time, the court for cause shown may at any time in its discretion (1)
      with or without motion or notice order the period enlarged if request
      therefore is made before the expiration of the period originally
      prescribed or as extended by a previous order, or (2) upon motion
      made after the expiration of the specified period permit the act to be
      done where the failure to act was the result of excusable neglect; but
      it may not extend the time for taking any action under Civ.R. 50(B),
      Civ.R. 59(B), Civ.R. 59(D), and Civ.R. 60(B), except to the extent and
      under the conditions stated in them.

      {¶15} After review of the record, we determine that Johnson’s arguments

are misplaced. Applying Civ.R. 6(B)(2) to the facts of this case, there is no
indication that State Farm failed to file an expert report after the August 1 deadline.

Civ.R. 6(B)(2) authorizes a trial court in its discretion to permit an untimely act to

be completed if the failure to act resulted from excusable neglect. Haworth v.

Roman, 2023-Ohio-3816, ¶ 34 (2d Dist.). “Neglect under Civ.R. 6(B)(2) has been

defined as conduct that falls substantially below what is reasonable under the

circumstances.” Davis v. Immediate Med. Servs., Inc., 80 Ohio St.3d 10, 14 (1997).

The record reveals that the broader discovery deadline was April 3, 2023. Johnson

subsequently filed his expert report on April 17, 2023. State Farm then requested

an IME to aid in its defense. The trial court ordered State Farm to submit their

expert reports by August 1, 2023. State Farm filed their motion on June 8, 2023,

well before the stated deadline. Furthermore, in Johnson’s brief, he does not

disagree with the dates set by the trial court. Under these circumstances, we

determine that the concept of excusable neglect is not applicable. Therefore, the

trial court did not abuse its discretion.

      {¶16} Therefore, Johnson’s second assignment of error is overruled.

      {¶17} In Johnson’s third assignment of error, he argues that the trial court

erred as a matter of law when they did not define the scope of IME in their order.

      We note that courts generally are not trained in medicine and therefore
      are unable to know precisely the necessary scope that a medical
      examination should take. However, given the language of Civ.R. 35,
      courts must attempt to establish the scope of an IME when the parties
      are unable or unwilling to cooperate in doing so. As each IME will differ
      based on the conditions in controversy, the court need only confine the
      exam to matters pertinent to the disputed condition. So long as the
      exam is conducted according to accepted standards of the medical
      profession, unjustified intrusion into irrelevant areas should be
      prevented. Moreover, while the parties are welcome to suggest
      conditions, it is within the court’s discretion to accept or reject those
      suggestions. See Vetter v. Twesigye, 159 Ohio App.3d 525, 2005 Ohio
      201, 824 N.E.2d 581.

Stratman, 2006-Ohio-4712, at ¶ 21.

      {¶18} On July 24, 2023, the defendant filed a Notice of Independent

Medical Examination, stating:

      Please take notice that, pursuant to Rule 35(A) of the Ohio Rules of Civil
      Procedure, the Defendant, State Farm Mutual Automobile Insurance
      Company, hereby notice the Independent Medical Examination of
      Plaintiff, Sanathan Johnson, to be conducted by Mark Panigutti, M.D.
      on July 26th, 2023, beginning at 2:00 p.m. at OrthoWest Limited, 7255
      Old Oak Blvd, Building C-Room 205, Middleburg Heights, Ohio 44130.

      {¶19} Although the notice specifies the time, place, and manner, the

conditions and scope of the examination are not clear from the order.

      Defendant, State Farm Mutual Automobile Insurance Company’s
      motion for order requiring plaintiff to appear for physical examination
      and extension of time, filed 06/12/2023, is granted.

      Plaintiff is to appear for examination as requested on July 28, 2023.
      Defendant is granted until September 1, 2023 to serve repost. So
      ordered.

Journal Entry No. 152994763 (July 21, 2023).

      {¶21} We determine that the trial court did not confine or attempt to confine

the exam to matters pertinent to the disputed condition.

      {¶22} Therefore, Johnson’s third assignment of error is sustained.
      {¶23} In Johnson’s fourth assignment of error, he argues that the trial court

erred when the court denied his request to obtain a rebuttal expert. Specifically,

he argues that the trial court extended the discovery deadline for State Farm, but

not for him. Johnson’s arguments are misplaced. Johnson did not file a motion

requesting permission to submit rebuttal expert reports.

      {¶24} Johnson argues that the trial court erred by not granting him an

extension to submit rebuttal expert reports after the IME. However, Johnson’s

argument is premature. The IME may not demonstrate anything different than

what his own medical expert reported. Additionally, the trial court did not dismiss

Johnson’s motion for an extension of time because Johnson did not file a motion.

“[A] party cannot present new arguments for the first time on appeal that were not

raised below, and a trial court cannot be said to have abused its discretion by failing

to consider arguments that were never presented to it.” State v. Moore, 2020-

Ohio-3459, ¶ 58 (8th Dist.), citing State v. Luton, 2018-Ohio-4708, ¶ 65 (8th Dist.);

see also State v. Pratts, 2016-Ohio-8053, ¶ 43 (8th Dist.) (“A party may not raise

for the first time on appeal an argument that could have been raised below.”).

      {¶25} Therefore, Johnson’s fourth assignment of error is overruled.

      {¶26} Judgment affirmed in part, vacated in part, and remanded for the

limited purpose of defining the scope and conditions of the IME.

      It is ordered that appellee and appellant split costs herein taxed.

      The court finds there were reasonable grounds for this appeal.
       It is ordered that a special mandate issue out of this court directing the

common pleas court to carry this judgment into execution.

       A certified copy of this entry shall constitute the mandate pursuant to Rule

27 of the Rules of Appellate Procedure.



_________________________________
ANITA LASTER MAYS, JUDGE

KATHLEEN ANN KEOUGH, A.J., CONCURS IN JUDGMENT ONLY;
MICHELLE J. SHEEHAN, J., DISSENTS (WITH SEPARATE OPINION)



MICHELLE J. SHEEHAN, J., DISSENTING:

       {¶ 27} I respectfully dissent from the lead opinion because an order for an

independent medical examination (“IME”) pursuant to Civ.R. 35(A) is not a

provisional remedy and thus not a final appealable order under R.C. 2505.02(B),

and I would dismiss this case for lack of a final appealable order.

       {¶ 28} This court sua sponte dismissed this case as not being a final

appealable order pursuant to R.C. 2505.05(B), citing Myers v. Toledo,

2006-Ohio-4353. This court then reinstated this case upon Johnson’s motion for

reconsideration by citing two Tenth District Court of Appeals cases, Kinsey v. Erie

Ins.   Group,   2004-Ohio-579      (10th   Dist.),   and   Stratman   v.   Sutantio,

2006-Ohio-4712 (10th Dist.). In Kinsey, the court held that an order under Civ.R. 35

was a final appealable order pursuant to R.C. 2505.02(B)(4). Kinsey at ¶ 10. In
Stratman, the court followed Kinsey and found the order under Civ.R. 35 for an IME

to be a provisional remedy and thus a final appealable order. Stratman at ¶ 10.

However, after Kinsey was decided and only a week before Stratman was released,

the Ohio Supreme Court held in Myers:

      [A] trial court order granting a Civ.R. 35(A) motion for a physical or
      medical examination, made in a special proceeding, is not a final,
      appealable order under R.C. 2505.02(B)(2) or (4). This is consistent
      with our earlier decision that a Civ.R. 35(A) motion outside of a special
      proceeding was not a final, appealable order. Nickel v. Carter, 104
      Ohio St.3d 542, 2004-Ohio-6776, 820 N.E.2d 895, ¶ 15.

(Emphasis added.) Meyers at ¶ 26. In Myers, the Ohio Supreme Court considered

an order made in a special proceeding. However, the Court analyzed whether an

order for an IME is a final appealable order in a special proceeding per

R.C. 2505.02(B)(2) as well as pursuant to R.C. 2505.02(B)(4), a statute that is

applicable to all judgments.

      {¶ 29} The lead opinion relies on the Tenth District Court of Appeals

decision in Stratman in finding that the order appealed is a provisional remedy.

Notably, in Stratman, the Tenth District Court of Appeals did not cite or reference

the Ohio Supreme Court’s pronouncement in Myers that an order for an IME is not

a final appealable order under R.C. 2505.02(B)(4). Stratman, passim. Further, my

research has not found any other Ohio appellate district decision after Myers was

released that follows Kinsey and Stratman in finding that a Civ.R. 35(A) order for

an IME is a final appealable order. Moreover, in determining that an order for a
psychological exam under R.C. 3109.04(C) was not a final appealable order under

R.C. 2505.02(B)(2), the Tenth District Court of Appeals recently recognized that in

“Myers, the Supreme Court of Ohio determined that a request for a medical

examination under Civ.R. 35(A) is not a provisional remedy.” Tassone v. Tassone,

2021-Ohio-4063, ¶ 16 (10th Dist.).

      {¶ 30} I would reconsider our order reinstating this appeal, apply Myers to

find that the order appealed is not a final appealable order pursuant to

R.C. 2505.02(4), and dismiss this case.
